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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

            v.                                  23-CR-80 ABJ

PETER HARDING

         CONSENT MOTION TO AMEND CONDITIONS OF RELEASE

            Heather Shaner, in consultation with PTS Officer Macaluso in the
Western District of New York and AUSA Woo, now files this Consent Motion
to Amend the Conditions of Release for Peter Harding.


            The parties Consent to the removal of Electronic Monitoring and
Curfew as unnecessary conditions. The remaining Conditions of Release will
apply.


            WHEREFORE, the defendant requests the Conditions of Release
be Amended to Personal Recognizance with the Curfew and Electronic
Monitoring conditions removed.


                              Respectfully submitted,


                              ______________/s/_______________________
                              H. Heather Shaner DC Bar #273276
                              Appointed by the Court for Peter Harding
                              1702 S Street N.W.
                              Washington, D.C. 20009
                              hhsesq@aol.com//202 2658210
